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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7        BO AVERY, et al.,                               Case No. 3:22-cv-02733-JSC
                                                         Plaintiffs,
                                   8
                                                                                            DEFENDANT’S MOTION TO
                                                   v.                                       COMPEL ARBITRATION
                                   9

                                  10        TEKSYSTEMS, INC.,                               Re: Dkt. No. 105
                                                         Defendant.
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                                  12
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                                  13            A class of Recruiters for TEKsystems, Inc. (“TEK”) allege TEK improperly classifies

                                  14   Plaintiffs and other Recruiters as exempt from California overtime, wage, and hour laws and

                                  15   therefore illegally underpays Recruiters. Now pending before the Court is Defendant’s motion to

                                  16   compel arbitration (Dkt. No. 105).1 Having carefully considered the briefing, and with the benefit

                                  17   of oral argument on August 15, 2024, the Court DENIES Defendant’s motion to compel

                                  18   arbitration. TEK’s imposition of the arbitration agreement after class certification was fully

                                  19   briefed was misleading and interfered with the Recruiters’ rights. Further, TEK waived any right

                                  20   to arbitration of the claims of certified class members by litigating this action for two years before

                                  21   filing the motion to compel arbitration.

                                  22                                   MOTION TO COMPEL ARBITRATION

                                  23   I.       PROCEDURAL BACKGROUND
                                  24            On April 9, 2021, a group of TEK recruiters filed a complaint in the Western District of

                                  25   Pennsylvania, Thomas, et al. v. TEKsystems, Inc., Case No. 2:21-cv-00460-WSS (W.D. Pa.).

                                  26   (Dkt. No. 21 at 6.)

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                                        Record citations are to material in the Electronic Case File (“ECF”); pinpoint citations are to the
                                       ECF-generated page numbers at the top of the documents.
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                                   1          Named Plaintiffs in this case filed a putative class action in state court on January 28,

                                   2   2022. (Dkt. No. 1-1 at 3.) TEK removed the case to federal court on May 6, 2022. (Dkt. No. 1.)

                                   3   TEK filed a motion to dismiss on July 28, 2022, arguing this case should be transferred,

                                   4   dismissed, or stayed pursuant to the “first-to-file” rule. (Dkt. No. 21.) The Court denied

                                   5   Defendant’s motion on August 31, 2022. (Dkt. No. 31.) Discovery proceeded and the Court set a

                                   6   schedule through class certification. (Dkt. No. 37.) The Court referred the parties to the Northern

                                   7   District of California ADR Program and a mediation, facilitated by a volunteer mediator, occurred

                                   8   in May 2023. The parties subsequently stipulated to extend the class certification briefing

                                   9   schedule. (Dkt. No. 54.)

                                  10          On October 6, 2023, Plaintiffs filed a motion to certify the class. (Dkt. No. 63.) Class

                                  11   certification briefing closed on December 14, 2023. Eight days later Plaintiffs filed an emergency

                                  12   motion for a protective order. (Dkt. No. 73.) Plaintiffs reported “on December 19, 2023, TEK’s
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                                  13   counsel emailed Plaintiffs’ counsel to inform them that TEK had adopted an arbitration policy for

                                  14   its internal employees, including Recruiters, and that it had disseminated notice of the policy that

                                  15   same day.” (Id. at 7.) Plaintiffs urged the Court to void TEK’s arbitration agreement with

                                  16   Recruiters because it was “misleading and coercive.” (Id. at 12.) The Court granted in part and

                                  17   denied in part that motion, explaining “the determination of whether any arbitration agreement

                                  18   [wa]s invalid [wa]s not yet ripe,” but the Court ordered TEK “to disclose any communications

                                  19   from TEK to putative class members about their claims in this case to Plaintiffs’ counsel.” (Dkt.

                                  20   No. 79.)

                                  21          The Court heard argument on Plaintiffs’ class certification motion on February 1, 2024. At

                                  22   no time during the class certification proceedings did TEK raise an arbitration agreement as an

                                  23   issue. On February 13, 2024, the Court granted Plaintiffs’ motion and certified a “class of all

                                  24   current and former Recruiters employed by TEK from January 28, 2018 to the final date of

                                  25   judgment and a subclass of all the class members who worked for TEK on or after January 28,

                                  26   2019 and are no longer employed by TEK and have not been employed by TEK for more than 72

                                  27   hours.” (Dkt. No. 84 at 1.)

                                  28          A month later the Court held a further case management conference and heard argument on
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                                   1   Plaintiffs’ opposed motion for approval of class notice. The Court ordered the parties to meet and

                                   2   confer and submit further proposed notice, and subsequently approved class notice. (Dkt. Nos. 91,

                                   3   97.) Pursuant to a schedule imposed by the Court, Plaintiffs moved for partial summary judgment

                                   4   on May 14, 2024. (Dkt. No. 100.)

                                   5          On June 10, 2024, more than two years after TEK removed this action to this Court, TEK

                                   6   moved to compel arbitration of the claims of certain certified class members. (Dkt. No. 105.)

                                   7   II.    FACTUAL BACKGROUND
                                   8          “A significant part of TEK’s business is placing employees,” which it calls “consultants,”

                                   9   “on temporary assignment to TEK’s clients and hiring consultants to perform IT services for

                                  10   clients.” (Dkt. No. 105-1 ¶ 7.) TEK’s current policy—which has been in effect since before April

                                  11   of 2021—is that “every U.S. consultant must sign a mutual arbitration agreement with” TEK “as a

                                  12   condition of employment before they may begin an assignment at TEK.” (Id. ¶ 8.)
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                                  13          DeAndrei Drummond, TEK’s Vice President and General Counsel, has “been a proponent

                                  14   of expanding TEK’s arbitration policy to TEK’s internal employees” since he was hired by TEK

                                  15   in October of 2021. (Dkt. No. 105-1 ¶¶ 4, 9.) “In mid-2023,” Mr. Drummond “sought approval

                                  16   from business leaders at TEK to roll out an arbitration policy that would apply to all internal

                                  17   employees of TEK in the United States.” (Id. ¶ 10.) He “received approval of that concept in late

                                  18   September 2023.” (Id.) “The template for TEK’s Mutual Arbitration Agreement for internal

                                  19   employees is the agreement that TEK ha[d] been using for its consultants for many years with just

                                  20   a few minor changes.” (Id. ¶ 11.)

                                  21          TEK “reviews and updates its policies on an annual basis, with announcements at the end

                                  22   of the year of policies that will be changing in the upcoming year.” (Id. ¶ 12.) The arbitration

                                  23   agreement was emailed “to all current internal employees in California,” a group of about 370

                                  24   people, fewer than 200 of whom were potential class members, “on December 19, 2023.” (Id. ¶

                                  25   14.) Those internal employees “received an email sent from the email address ‘TEKsystems via

                                  26   DocuSign’ with the subject line ‘Mutual Arbitration Agreement.’” (Id. ¶ 16.) The text of the

                                  27   email provided:

                                  28                  As you know from the email you received earlier today, at this time
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                                                  of year we typically review and update our company policies,
                                   1              required trainings and employee information.
                                   2              In 2024, TEKsystems is instituting a mutual arbitration agreement for
                                                  internal employees in the U.S. Mutual arbitration agreements are
                                   3              commonplace today. Most people have signed them as part of cell
                                                  phone contracts, rental agreements, and credit card agreements. They
                                   4              are increasingly common with employers as they provide a mutually
                                                  agreeable way to settle disputes while being more efficient and cost
                                   5              effective for both employees and the company.
                                   6              We value each employee and believe that workplace concerns are best
                                                  resolved through open and candid discussions, and employees are
                                   7              encouraged to raise and discuss any concerns as soon as they arise. In
                                                  the event the issue or concern cannot be resolved satisfactorily, or if
                                   8              an employee chooses not to pursue these informal channels,
                                                  employees will be required to pursue covered claims through
                                   9              mandatory arbitration as described in the attached Agreement.
                                  10              Attached is the Company’s Mutual Arbitration Agreement (the
                                                  ‘Agreement’). Please review it carefully as it affects our mutual right
                                  11              to litigate certain types of legal claims in court, and also includes a
                                                  waiver of class and collective action claims. Under the Agreement,
                                  12              both employees and the Company would pursue any ‘covered claims’
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                                                  through individual arbitration instead of court litigation or
                                  13              class/collective actions. In our experience, litigation in court --
                                                  particularly class and collective actions -- are wasteful, inefficient
                                  14              means for resolving disputes, and tend to enrich only attorneys
                                                  rather than the individuals who may have legitimate claims.
                                  15
                                                  As part of this Agreement, the Company will pay for the costs of
                                  16              arbitration, minus a small ‘filing fee.’ For pursuing individual claims,
                                                  the arbitration forum is similar to court, but less formal. The same
                                  17              substantive laws apply to your claim, and the arbitrator (whom you
                                                  would participate in selecting) would be directed to reach a
                                  18              conclusion and can provide the same remedies you could receive in
                                                  an individual lawsuit in court. Before initiating arbitration, employees
                                  19              are encouraged, but not required, to come forward with any concerns
                                                  or issues they may have through your HR employee relations manager
                                  20              or leader.
                                  21              All new and current employees will be subject to this Agreement
                                                  as a condition of working for the Company. If you choose to
                                  22              continue working here after December 31, 2023 you’ll be deemed
                                                  to have accepted the Agreement, and we are asking for your
                                  23              signature to reflect that. Please review, acknowledge and
                                                  electronically ‘sign’ the agreement by clicking ‘I agree.’ If you have
                                  24              any questions regarding the Agreement, please feel free to contact the
                                                  HR team at HR@teksystems.com.
                                  25
                                                  You can find additional information and FAQs here
                                  26              (https://allegiscloudmy.sharepoint.com/:w:/g/personal/suwallac_teks
                                                  ystems_com/Eeqfe4PW6r9AnqlSs7J3Y
                                  27              psBH40Sm4ppgANGYSRLgZrV3A?e=YkZcZ0&CID=896A3E14-
                                                  C2D8-49F5-AD75- D0DF11630AA3&wdLOR=c01AE3873-65E2-
                                  28              4F3B-B73B-A2744BA1D312 [allegiscloud-my.sharepoint.com]).
                                                                                     4
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                                   1   (Dkt. No. 105-1 at 10-11 (emphasis added).)

                                   2          The email included “a link to the Mutual Arbitration Agreement,” which recipients could

                                   3   access by clicking on the link. (Id. ¶ 17.) The email also included a link to a “FAQ” (Frequently

                                   4   Asked Questions) document. (Id. ¶ 18.) The FAQ document provided, in part:

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                                  15   (Dkt. No. 105-1 at 18-20.)
                                  16          The arbitration agreement’s effective date was January 1, 2024—12 days after the

                                  17   agreement was emailed and just after the Christmas and New Year’s holiday season. (Id. ¶ 15.)

                                  18   The agreement provides, in part:

                                  19                 As consideration for my continued employment with TEKsystems,
                                                     Inc. and for the mutual promises herein, I and the Company (as
                                  20                 defined below) (each a “party” and collectively “the parties”) agree
                                                     that:
                                  21
                                                     Except (i) as expressly set forth in the section, “Claims Not
                                  22                 Covered by this Agreement,” all disputes, claims, complaints, or
                                                     controversies (“Claims”) that I may have against TEKsystems
                                  23                 and/or any of its subsidiaries, affiliates, officers, directors,
                                                     employees, agents, and/or any of its clients or customers
                                  24                 (collectively and individually the “Company”), or that the
                                                     Company may have against me, including contract claims; tort
                                  25                 claims; discrimination and/or harassment claims; retaliation
                                                     claims; claims for wages, compensation, penalties or restitution;
                                  26                 and any other claim under any federal, state, or local statute,
                                                     constitution, regulation, rule, ordinance, or common law, arising
                                  27                 out of and/or directly or indirectly related to my application for
                                                     employment with the Company, and/or my employment with
                                  28                 the Company, and/or the terms and conditions of my employment
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                                                     with the Company, and/or termination of my employment with
                                   1                 the Company (collectively “Covered Claims”), are subject to
                                                     confidential arbitration pursuant to the terms of this Agreement
                                   2                 and will be resolved by Arbitration and NOT by a court or jury.
                                                     The parties hereby forever waive and give up the right to have a
                                   3                 judge or a jury decide any Covered Claims.
                                   4                 YOU WILL BE DEEMED AS HAVING ACCEPTED THIS
                                                     AGREEMENT IF YOU REMAIN EMPLOYED BY TEKSYSTEMS
                                   5                 ON OR AFTER JANUARY 1, 2024.
                                   6                 To the maximum extent permitted by applicable law, the parties agree
                                                     that:
                                   7                     • No Covered Claims may be initiated or maintained on a class
                                                            action, collective action, or representative action basis either
                                   8                        in court or arbitration . . .
                                   9                 I ACKNOWLEDGE THAT:
                                                        • I have carefully read this Agreement, understand the terms of
                                  10                      this Agreement, and am entering into this Agreement
                                                          voluntarily;
                                  11                    • I am not relying on any promises or representations by the
                                                          Company except those contained in this Agreement;
                                  12                    • I am giving up the right to have Covered Claims decided by a
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                                                          court or jury;
                                  13                    • I have been given the opportunity to discuss this Agreement
                                                          with my own attorney if I wish to do so; and
                                  14                    • My affirmative signature and/or acknowledgement of this
                                                          Agreement is not required for the Agreement to be considered
                                  15                      as effective. If I remain employed with TEKsystems on or
                                                          after January 1, 2024, I will be deemed to have consented to,
                                  16                      ratified and accepted this Agreement through my acceptance
                                                          of and continued employment with TEKsystems.
                                  17

                                  18   (Dkt. No. 105-1 at 14-16.)

                                  19          Shortly after the arbitration agreement was sent, all TEK Recruiters who were in the

                                  20   “putative class received an additional communication sent from the email address ‘TEKsystems via

                                  21   DocuSign <dse_na2@docusign.net>’ with the subject line ‘Mutual Arbitration Agreement and

                                  22   Current Class Action Suit.’” (Dkt. No. 105-1 ¶ 19.) The email provided:

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                                  16   (Dkt. No. 105-1 at 22.) The email also instructed recipients: “Do Not Share This Email

                                  17   This email contains a secure link to DocuSign. Please do not share this email, link, or access code

                                  18   with others.” (Id. at 23.) The “Review Document” button took recipients to a document on

                                  19   DocuSign that provided:

                                  20
                                                      Notice of Right to Opt-Out of Mutual Arbitration Agreement for
                                  21                  Limited Purpose
                                  22                  Like all other employees of TEKsystems, you received from
                                                      TEKsystems a Mutual Arbitration Agreement (“Agreement”) that
                                  23                  will be effective as to all TEKsystems employees beginning on
                                                      January 1, 2024.
                                  24
                                                      You are receiving this additional communication because you are a
                                  25                  putative      class     member      in    the     case    captioned
                                                      Avery, et al. v. TEKsystems, Inc., Case No. 3:22-cv-027733-JSC, that
                                  26                  is pending before the United States District Court for the Northern
                                                      District of California (“Avery”) and the Agreement may affect your
                                  27                  rights in that matter.
                                  28                  The main claim in Avery is that TEKsystems allegedly misclassified
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                                                      Recruiters as exempt from the overtime requirements under
                                   1                  California law and that, therefore, TEKsystems owes Recruiters back
                                                      overtime pay and various penalties. TEKsystems denies the
                                   2                  substantive allegations in the case. A motion for class certification
                                                      has been filed, which TEKsystems has opposed, and the court has not
                                   3                  issued a decision on it or on the merits of the case. You may be able
                                                      to receive money if the court certifies a class and if either the court
                                   4                  ultimately rules in favor of the class on the merits or if the parties
                                                      settle the case.
                                   5
                                                      If you wish to view the operative complaint in Avery, which contains
                                   6                  contact information for the attorneys who seek to represent a class,
                                                      you may do so by clicking on the link in the Docusign email or typing
                                   7                  in                              this                             URL
                                                      https://allegiscloud.sharepoint.com/teams/legalDocs/LD/Avery.pdf
                                   8                  [allegiscloud.sharepoint.com].
                                   9                  The Agreement contains a broad definition of Covered Claims and
                                                      does not exclude the claims brought in Avery. Accordingly, unless
                                  10                  you separate from your employment with TEKsystems before
                                                      January 1, 2024, or take actions as described below before January 9,
                                  11                  2024, TEKsystems will take the position in Avery that, if a class is
                                                      certified, you could not be a part of it and that you can bring claims
                                  12                  only in individual arbitration.
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                                  13                  If you wish to remain a part of the putative class in Avery in federal
                                                      court, you may opt out of the Mutual Arbitration Agreement for the
                                  14                  limited purpose of remaining in the Avery putative class by signing
                                                      below and returning this form no later than January 9, 2024.
                                  15
                                                      You of course are free to consult your attorney.
                                  16
                                                      I wish to opt-out of the Mutual Arbitration Agreement for the limited
                                  17                  purpose of remaining in the putative class in Avery, et al. v.
                                                      TEKsystems, Inc., Case No. 3:22-cv-02733-JSC (N.D. Cal.).
                                  18
                                  19   (Dkt. No. 105-1 ¶ 21.)

                                  20          The link in the email took recipients to the operative version of the Avery complaint. (Dkt.

                                  21   No. 105-1 ¶ 22.) The complaint was “hosted on TEK’s intranet site, and it [wa]s accessible to

                                  22   TEK employees who are on the TEK network.” (Id. ¶ 22.)

                                  23          At present, 123 individuals who are members of the class failed to opt out of the arbitration

                                  24   agreement. (Dkt. Nos. 105-4 ¶ 26 (“DocuSign records reflect that 126 Avery class members

                                  25   received the opt-out opportunity but did not sign it.”); 111 at 5 n.1 (TEK acknowledging two

                                  26   individuals opted out of arbitration and a third asked to be excluded from the class, bringing the

                                  27   number of individuals who could be compelled to arbitration to 123).) TEK moves to compel

                                  28   individual arbitration of the claims of the 123 certified class members.
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                                   1   III.    DISCUSSION

                                   2          A.      Federal Rules of Civil Procedure 23(d)
                                   3          Federal Rules of Civil Procedure 23(d) provides, when conducting a class action, “the

                                   4   court may issue orders that . . . impose conditions on the representative parties or on intervenors.

                                   5   Fed. R. Civ. Proc. 23(d). “Because of the potential for abuse, a district court has both the duty and

                                   6   the broad authority to exercise control over a class action and to enter appropriate orders

                                   7   governing the conduct of counsel and parties.” Gulf Oil Co. v. Bernard, 452 U.S. 89, 100 (1981).

                                   8   But, any “order limiting communications between parties and potential class members should be

                                   9   based on a clear record and specific findings that reflect a weighing of the need for a limitation

                                  10   and the potential interference with the rights of the parties.” Id. “The key is whether there is

                                  11   ‘potential interference’ with the rights of the parties in a class action.” O’Connor v. Uber Techs.,

                                  12   Inc., No. C-13-3826 EMC, 2013 WL 6407583, at *5 (N.D. Cal. Dec. 6, 2013) (quoting Gulf Oil,
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                                  13   452 U.S. at 100).

                                  14          The discretionary authority of “Rule 23(d) gives district courts the power to regulate the

                                  15   notice and opt-out processes and to impose limitations when a party engages in behavior that

                                  16   threatens the fairness of the litigation.” Wang v. Chinese Daily News, Inc., 623 F.3d 743, 756 (9th

                                  17   Cir. 2010), cert. granted, judgment vacated on other grounds, 565 U.S. 801 (2011); see also In re

                                  18   Victor Techs. Sec. Litig., 792 F.2d 862, 864 (9th Cir. 1986) (“Obviously district courts must have

                                  19   broad discretion, resting on the specific facts of each case, in framing procedures for class actions

                                  20   under Fed. R. Civ. P. 23.”). “Courts routinely exercise their discretion to invalidate or refuse to

                                  21   enforce arbitration agreements implemented while a putative class action is pending if the

                                  22   agreement might interfere with members’ rights.” Jimenez v. Menzies Aviation Inc, No. 15-CV-

                                  23   02392-WHO, 2015 WL 4914727, at *6 (N.D. Cal. Aug. 17, 2015) (citing cases); see also

                                  24   O’Connor v. Uber Tech., Inc., No. 13–cv–3826 EMC, 2013 WL 6407583, at *7 (N.D. Cal. Dec. 6,

                                  25   2013) (holding “the promulgation of” an “arbitration provision[] runs a substantial risk of

                                  26   interfering with the rights of Uber drivers [the putative class] under Rule 23,” and requiring the

                                  27   defendant give the putative class “clear notice of the arbitration provision, the effect of assenting

                                  28   to arbitration on their participation in this lawsuit, and reasonable means of opting out of the
                                                                                         10
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                                   1   arbitration provision,” and invalidating the arbitration agreements of current putative class

                                   2   members); Slavkov v. Fast Water Heater Partners I, LP, No. 14-CV-04324-JST, 2015 WL

                                   3   6674575, at *2 (N.D. Cal. Nov. 2, 2015) (“Courts in this district have limited communications, as

                                   4   well as invalidated agreements that resulted from those communications, when they omitted

                                   5   critical information or were otherwise misleading or coercive.”); Reed v. Scientific Games Corp.,

                                   6   No. C-18-0565-RSL, 2021 WL 2473930, at *4 (W.D. Wash. June 17, 2021) (denying a motion to

                                   7   compel arbitration when the “defendant made changes to its terms and conditions of use which, if

                                   8   accepted, would essentially opt putative class members out of the class and retroactively change

                                   9   the governing law so that the class claims would fail, all without any acknowledgment of this

                                  10   litigation, description of the claims asserted, summary of the status of the case, input from the

                                  11   named plaintiff or her counsel, or oversight from the Court.”); Billingsley v. Citi Trends, Inc., 560

                                  12   F. App’x 914, 922 (11th Cir. 2014) (“Whatever right Citi Trends may have had to ask its
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                                  13   employees to agree to arbitrate, the district court found that its effort in the summer of 2012 was

                                  14   confusing, misleading, coercive, and clearly designed to thwart unfairly the right of its store

                                  15   managers to make an informed choice as to whether to participate in this FLSA collective action.

                                  16   Since the arbitration agreements by their terms will directly affect this lawsuit, the district court

                                  17   had authority to prevent abuse and to enter appropriate orders governing the conduct of counsel

                                  18   and the parties.”); McKee v. Audible, Inc., No. CV 17-1941-GW(EX), 2018 WL 2422582, at *5

                                  19   (C.D. Cal. Apr. 6, 2018) (“Courts in the Ninth Circuit have limited communications, as well as

                                  20   invalidated agreements that resulted from those communications, when they omitted critical

                                  21   information or were otherwise misleading or coercive.”).

                                  22          TEK’s communications with putative class members after the class certification motion

                                  23   was fully briefed but before the Court heard oral argument threatened the fairness of the litigation

                                  24   because the communications were misleading and omitted key information. In TEK’s first email

                                  25   to putative class members, TEK informed its employees “[i]n our experience, litigation in

                                  26   court—particularly class and collective actions—are wasteful, inefficient means for resolving

                                  27   disputes, and tend to enrich only attorneys rather than the individuals who may have

                                  28   legitimate claims.” (Dkt. No. 105-1 at 10-11 (emphasis added).) In the FAQ document linked in
                                                                                         11
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                                   1   the email to all California employees, TEK doubled down, explaining an “arbitrator will have the

                                   2   same authority to award all the same remedies that would have been available . . . in court on an

                                   3   individual claim,” but employees “will not have the right to proceed on a class-wide claim

                                   4   (which generally tends to enrich attorneys, not individual class members).” (Dkt. No. 105-1

                                   5   at 18-20 (emphasis added).) TEK further asserts it “cares about resolving [its employees’] claims

                                   6   specifically and thoroughly” and class claims “require[] the Company to ignore individual

                                   7   employee issues and concerns. Additionally, attorneys, not employees, are often the biggest

                                   8   winners in class actions, often charging exorbitant fees to both the class and the employer

                                   9   involved, reducing the money actually received by class members.” (Id. (emphasis added).)

                                  10          TEK does not explain why it included disparaging comments about class actions and their

                                  11   attorneys in its communications to putative class members. And it fails to cite any case approving

                                  12   such disparaging communications to putative class members. Given the timing of TEK’s
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                                  13   implementation of an arbitration agreement, the derogatory comments appear designed to prevent

                                  14   putative class members from opting into the lawsuit and opting out of the arbitration agreement

                                  15   (for the purpose of participating in the Avery class action). But, regardless of TEK’s good faith or

                                  16   lack thereof, TEK’s communications were misleading. For instance, a recipient of TEK’s email

                                  17   may think they, personally, may have to pay “exorbitant fees” to attorneys if they opt into the class

                                  18   action. TEK’s communications to putative class members are especially concerning given the

                                  19   timing: TEK’s emails disparaging class action and class action attorneys were the first

                                  20   communication many putative class members received about the case. And the communications

                                  21   did not tell putative class members they could—for free—consult Plaintiffs’ counsel and did not

                                  22   provide them with Plaintiffs’ counsel’s contact information. Requiring class members to click

                                  23   through multiple links and then locate the contact information on a copy of the complaint was

                                  24   insufficient. And TEK’s statement at the end of the email that Recruiters were “of course free to

                                  25   consult” their attorney is disingenuous. What attorney would these employees have? And who

                                  26   would pay for such advice? A fair and not misleading communication would have advised

                                  27   putative class members they could consult with Plaintiffs’ counsel for free and provide counsel’s

                                  28   contact information. And the email to putative class members warned the employees that that they
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                                   1   could not share the email with others. (Dkt. No. 105-1 at 22.) So, how are they supposed to get

                                   2   advice? Further, TEK hid from the putative class members that the motion for class certification

                                   3   had been fully briefed and was scheduled to be decided early the next year. And, TEK did not

                                   4   provide the putative class members with those pleadings or even information on how they could

                                   5   review them.

                                   6          In short, after class certification was fully briefed, TEK turned this Rule 23 opt-out class

                                   7   proceeding into an opt-in proceeding, and to ensure as few current employee class members as

                                   8   possible opted in, TEK disparaged class actions and hid important information from the putative

                                   9   class members. These unilateral communications thus threatened the fairness of the class action

                                  10   proceedings.

                                  11          TEK maintains the statements disparaging class actions and attorneys “appear in general

                                  12   communications to all internal employees and are not linked to this particular litigation.” (Dkt.
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                                  13   No. 111 at 9-10.) But TEK sent those statements to all putative class members still working at the

                                  14   company. It is immaterial that TEK also sent those statements to other employees who are not

                                  15   part of this litigation. Indeed, TEK’s ability to send specific communications to only putative

                                  16   class members begs the question of why it sent two contradictory emails to those employees rather

                                  17   than a single email explaining relevant information. The first email sent to putative class members

                                  18   indicated the arbitration agreement was a mandatory condition of employment and disparaged

                                  19   class actions and class action attorneys. In that the email—the email that included the arbitration

                                  20   agreement—TEK stated “All new and current employees will be subject to this Agreement as a

                                  21   condition of working for the Company. If you choose to continue working here after December

                                  22   31, 2023 you’ll be deemed to have accepted the Agreement, and we are asking for your signature

                                  23   to reflect that.” (Dkt. No. 105-1 at 10-11.) TEK did not indicate that there was any opt-out

                                  24   procedure. Instead, TEK explained the acceptance of the arbitration agreement was a mandatory

                                  25   condition of employment. It was only in the second email sent to putative class members that

                                  26   TEK indicated opting out from the arbitration agreement was possible, and then only for the

                                  27   purpose of litigation about which the putative class members had never before been notified. The

                                  28   confusing nature of the emails is heightened because the emails were sent on December 19—just
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                                   1   before the Christmas holidays, and during a time when many employees were likely on vacation

                                   2   or otherwise engaged and thus unlikely to be able to obtain advice.

                                   3          Accordingly, the Court will not enforce the arbitration agreement and DENIES TEK’s

                                   4   motion.

                                   5          B.      Waiver
                                   6          Plaintiffs also maintain TEK has waived its right to compel arbitration. “Waiver. . . ‘is the

                                   7   intentional relinquishment or abandonment of a known right.’” Morgan v. Sundance, Inc., 596

                                   8   U.S. 411, 417 (2022) (quoting United States v. Olano, 507 U.S. 725, 733 (1993)). “To decide

                                   9   whether a waiver has occurred, the court focuses on the actions of the person who held the right;

                                  10   the court seldom considers the effects of those actions on the opposing party.” Id. at 417.

                                  11          The Ninth Circuit’s “rule of waiver of the right to arbitrate” is “a party waives its right to

                                  12   compel arbitration when (1) it has knowledge of the right, and (2) it acts inconsistently with that
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                                  13   right.” Hill v. Xerox Bus. Servs., LLC, 59 F.4th 457, 460 (9th Cir. 2023). “There is no concrete

                                  14   test to determine whether a party has engaged in acts inconsistent with its right to arbitrate; rather,

                                  15   we consider the totality of the parties’ actions.” Id. (cleaned up).

                                  16          TEK waived its right to compel arbitration of the claims of certified class members.

                                  17   During the class certification proceedings, it never raised arbitration as an issue, even though,

                                  18   according to its own testimony, its CEO got the go ahead to impose mandatory arbitration on all

                                  19   internal TEK employees, including the (then) putative class members, in September 2023—before

                                  20   Plaintiffs filed their class certification motion. And, TEK claims the mandatory arbitration

                                  21   agreement became effective before the Court heard argument on the class certification motion.

                                  22   Yet, TEK did not raise it as an issue. Instead, it waited until after the Court certified the class,

                                  23   after the Court approved class notice, after the Court set a briefing schedule on Plaintiffs’ partial

                                  24   summary judgment motion, and after Plaintiffs filed their summary judgment motion, to finally

                                  25   move to compel arbitration. Such wait and see conduct is inconsistent with the right to arbitrate.

                                  26          That TEK advised the Court in March 2024—after class certification was granted—

                                  27   that it intended to move to compel is of no moment. First, March 2024—nearly two years after

                                  28   TEK removed the case and after class certification was granted—is itself too late. Second, “[a]
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                                   1   statement by a party that it has a right to arbitration in pleadings or motions is not enough to defeat

                                   2   a claim of waiver.” Hill, 59 F.4th at 471 (cleaned up).

                                   3          TEK’s insistence that it did not waive the right to compel arbitration because it “did not

                                   4   have an existing right to compel arbitration’ until it had entered into Agreements” with the

                                   5   putative class members, and the Arbitration Agreement “did not take effect until January 1, 2024”

                                   6   (Dkt. No. 111 at 12), is unpersuasive. First, if the agreements took effect on January 1, 2024, why

                                   7   did it not raise the issue in advance of the February 1, 2024 class certification hearing? Why did

                                   8   TEK not move to compel arbitration before the Court ordered notice on the certified class, six

                                   9   months after the Agreements purportedly went into effect? Why did TEK wait until the Court set

                                  10   a briefing schedule on Plaintiffs’ summary judgment motion, and TEK saw the motion, to move to

                                  11   compel arbitration?

                                  12          Second, TEK knew of its right to impose a mandatory arbitration agreement even before it
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                                  13   removed the action to this Court. But it waited until the December 2023 holiday season—18

                                  14   months into this litigation—to impose arbitration. TEK’s reliance on the statement in Hill that

                                  15   “the test for waiver of the right to compel arbitration” requires “knowledge of an existing right to

                                  16   compel arbitration,” Hill, 59 F.4th at 468, is misplaced. In Hill there was an existing arbitration

                                  17   agreement so the court had no reason to address the situation presented here. And, the Supreme

                                  18   Court has instructed courts to apply general rules related to waiver rather than “invent[ing] special,

                                  19   arbitration-preferring procedural rules.” Id. at 418. In the general waiver context, parties can

                                  20   waive almost any right. Indeed, “even constitutional rights can be waived if not timely asserted.”

                                  21   Fox v. Johnson, 832 F.3d 978, 989 (9th Cir. 2016) (cleaned up). Moreover, TEK posits no reason

                                  22   why the Court should hold an employer can intentionally wait to impose an arbitration agreement

                                  23   until after it has litigated a case for two, three, four years, but waives the right to compel

                                  24   arbitration in those exact same circumstances if it has an existing arbitration agreement. In either

                                  25   scenario the employer litigated the case rather than take actions to impose arbitration. It is thus

                                  26   unsurprising that TEK could not find any case anywhere that draws the distinction it urges the

                                  27   Court to make.

                                  28          So, the motion to compel arbitration is DENIED for the additional reason TEK waived its
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                                   1   right to compel arbitration of the claims of certified class members.

                                   2                                            CONCLUSION

                                   3          For the above reasons, TEK’s motion to compel arbitration is DENIED.

                                   4          This Order resolves Dkt. No. 105.

                                   5          IT IS SO ORDERED.

                                   6   Dated: August 21, 2024

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                                                                                                     JACQUELINE SCOTT CORLEY
                                   9                                                                 United States District Judge
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